            Case 2:14-cr-00276-JAM Document 42 Filed 08/24/15 Page 1 of 5


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3    (916) 444-3994
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4    jmanninglaw@yahoo.com

5    Attorney for Defendant
     JESSICA JUAREZ
6

7                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,              )   Case No.: 2:14 CR 276 JAM
                                            )
10                     Plaintiff,           )   STIPULATION REGARDING EXCLUDABLE TIME
                                            )   PERIODS UNDER SPEEDY TRIAL ACT;
11   vs.                                    )   FINDINGS AND ORDER
                                            )
12   SILVA-SOTO, et al.,                    )   Date:    October 20, 2015
                                            )   Time:    9:15 a.m.
13                     Defendants.          )   Judge:   Honorable John A. Mendez
                                            )
14

15         The United States of America through its undersigned counsel, Samuel

16   Wong, Assistant United States Attorney, together with counsel for defendant

17   Gabriel Silva-Soto, Bradford Weston, III, Esq., counsel for defendant Yasmin

18   Rico, Timothy Zindel, Esq., counsel for defendant Elpidio Pedrizco-Mata, Kyle

19   R. Knapp, Esq., counsel for defendant Rigoberto Ibanez-Rojas, Dina L. Santos,

20   Esq., counsel for defendant Victor Vasquez-Heras, Clemente Jimenez, Esq.,

21   counsel for defendant Elodio Morfin-Soto, Michael E. Hansen, Esq., counsel

22   for defendant Pedro Rojas-Garcia, Michael D. Long, Esq., counsel for

23   defendant Juan Lira-Dejesus, Richard L. Bobus, Esq., counsel for defendant

24   Apolinar Bautista-Ruiz, Mark J. Reichel, Esq., counsel for defendant Marcial

25   Abraham-Montalvo, Olaf W. Hedberg, Esq., counsel for defendant Porfirio

26   Vasquez-Heraz, Christopher R. Cosca, Esq., counsel for defendant Maurilio

27   Vasquez-Heraz, Kristy Kellogg, Esq., and counsel for defendant Jessica

28   Juarez, John R. Manning, Esq., hereby stipulate the following:



                                                 1
            Case 2:14-cr-00276-JAM Document 42 Filed 08/24/15 Page 2 of 5


1          1.   By previous order, this matter was set for status conference on

2    August 25, 2015.

3          2.   By this stipulation, defendants now move to continue the status

4    conference until October 20, 2015 at 9:15 a.m. and to exclude time between

5    August 25, 2015 and October 20, 2015 under Local Codes T-2 (unusual and

6    complex case) and T-4 (to allow defense counsel time to prepare).

7          3.   The parties agree and stipulate, and request the Court find the

8    following:

9               a.      This case involves thirteen co-defendants.    The United

10                      States has produced discovery containing approximately

11                      14,000 pages of reports and pictures, 5 DVD's containing

12                      videos, and 1 CD containing multiple audio files.    The

13                      Superseding Indictment alleges that the crimes alleged

14                      occurred in at least four counties and two judicial

15                      districts.   Based on these facts, the case is unusual and

16                      complex within the meaning of 18 U.S.C. § 3161(h)(7)(A) and

17                      (B)(ii) and Local Code T-2 and it is unreasonable to expect

18                      adequate preparation for pretrial proceedings and trial

19                      itself within the time limits established in the Speedy

20                      Trial Act, 18 U.S.C. § 3161.

21              b.      Counsel for the defendants need additional time to review

22                      the discovery, conduct investigation, and interview

23                      potential witnesses.

24              c.      Counsel for the defendants believe the failure to grant a

25                      continuance in this case would deny defense counsel

26                      reasonable time necessary for effective preparation, taking

27                      into account the exercise of due diligence.

28              d.      The Government does not object to the continuance.



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            Case 2:14-cr-00276-JAM Document 42 Filed 08/24/15 Page 3 of 5


1               e.      Based on the above-stated facts, the ends of justice to be

2                       served by granting the requested continuance outweigh the

3                       best interests of the public and the defendants in a speedy

4                       trial and the time from the date of the parties'

5                       stipulation, August 18, 2015, to and including the new

6                       status conference date of October 20, 2015, shall be

7                       excluded from computation of time within which the trial

8                       of this case must be commenced under the Speedy Trial Act,

9                       pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv),

10                      and Local Codes T2 (unusual and complex case) and T4

11                      (reasonable time for defense counsel to prepare).

12         4.   Nothing in this stipulation and order shall preclude a finding that

13   other provisions of the Speedy Trial Act dictate that additional time periods

14   are excludable from the period within which a trial must commence.

15         IT IS SO STIPULATED.

16
     Dated: 8/21/15                             /s/Bradford Weston III
17                                              BRADFORD WESTON, III
                                                Attorney for Defendant
18                                              Gabriel Silva-Soto

19   Dated: 8/21/15                             /s/Timothy Zindel
                                                TIMOTHY ZINDEL
20                                              Attorney for Defendant
                                                Yasmin Rico
21
     Dated: 8/21/15                             /s/Kyle R. Knapp
22                                              KYLE R. KNAPP
                                                Attorney for Defendant
23                                              Elpidio Pedrizco-Mata

24   Dated: 8/21/15                             /s/Dina L. Santos
                                                DINA L. SANTOS
25                                              Attorney for Defendant
                                                Rigoberto Ibanez-Rojas
26
     Dated: 8/21/15                             /s/Clemente Jimenez
27                                              CLEMENTE JIMENEZ
                                                Attorney for Defendant
28                                              Victor Vasquez-Heras



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            Case 2:14-cr-00276-JAM Document 42 Filed 08/24/15 Page 4 of 5


1    Dated: 8/21/15                          /s/Michael E. Hansen
                                             MICHAEL E. HANSEN
2                                            Attorney for Defendant
                                             Elodio Morfin-Soto
3
     Dated: 8/21/15                          /s/Michael D. Long
4                                            MICHAEL D. LONG
                                             Attorney for Defendant
5                                            Pedro-Rojas-Garcia

6    Dated: 8/21/15                          /s/Richard L. Bobus
                                             RICHARD L. BOBUS
7                                            Attorney for Defendant
                                             Juan Lira-Dejesus
8
     Dated: 8/21/15                          /s/Mark J. Reichel
9                                            MARK J. REICHEL
                                             Attorney for Defendant
10                                           Apolinar Bautista-Ruiz

11   Dated: 8/21/15                          /s/Olaf W. Hedberg
                                             OLAF W. HEDBERG
12                                           Attorney for Defendant
                                             Marcial Abraham-Montalvo
13
     Dated: 8/21/15                          /s/Christopher R. Cosca
14                                           CHRISTOPHER R. COSCA
                                             Attorney for Defendant
15                                           Porfirio Vasquez-Heraz

16   Dated: 8/21/15                          /s/Kristy Kellog
                                             KRISTY KELLOGG
17                                           Attorney for Defendant
                                             Maurilio Vasquez-Heraz
18
     Dated: 8/21/15                          /s/ John R. Manning
19                                           JOHN R. MANNING
                                             Attorney for Defendant
20                                           Jessica Juarez

21

22   Dated: 8/21/15                          Benjamin B. Wagner
                                             United States Attorney
23
                                             /s/Richard Bender for
24                                           SAMUEL WONG
                                             Assistant United States Attorney
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           Case 2:14-cr-00276-JAM Document 42 Filed 08/24/15 Page 5 of 5


1
                                      ORDER
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                     The Court, having received, read, and considered
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     the stipulation of the parties, and good cause appearing
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6    therefrom, adopts the stipulation of the parties in its entirety

7    as its order.   IT IS SO FOUND AND ORDERED this 21st day of
8
     August,2015.
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11
                                      /s/ John A. Mendez________________
12                                    HONORABLE JOHN A. MENDEZ
                                      UNITED STATES DISTRICT COURT JUDGE
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